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In addition to its failure to satisfy the most basic pleading requirement, plaintiff also fails
to satisfy the minimum Rule 9(b) standard articulated by this Court. Specifically, in
contravention of the Court’s Order, the Complaint here does not “clearly and concisely” state
“the allegedly fraudulent AWP for each drug.” Order at 45 (emphasis added). Under the
Court’s test, it is not enough to simply list, as plaintiff has done, a drug’s published AWP and an
“Estimated Overcharge” based on an unexplained “True AWP.” Conclusory allegations based
on a simple regurgitation of the published AWP juxtaposed against some mathematical
calculation designed to elicit an estimated overcharge, without even noting any of the
assumptions behind the calculations, much less specific facts that constitute fraud, do not satisfy
the Court’s requirement that a fraudulent AWP be alleged. Nota single fact in the Complaint
details any instance of fraudulent Sanofi activity connected with the reporting of AWPs, WACs,
AMPs, or “best prices.” Indeed, as noted above, the Complaint does not even allege that Sanofi
set the AWPs, WACs, AMPs or “best prices” for any drug. To the extent that plaintiff truly —
conducted the “investigation” it claims forms the basis for its calculated overcharges, see Compl.
{7, it is required to have set forth at least some specific conduct by Sanofi. As this Court has
noted, the law precludes “conclusory allegations of fraud from serving as a basis for strike suits
and fishing expeditions.” United States ex rel. Franklin v. Parke-Duvis, 147 F Supp.2d 39, 46
(D. Mass. 2001) (Saris, J.).6 .

B. Plaintiff Fails To Allege RICO Predicate Acts With Particularity.

Plaintiff's RICO claims are based on an alleged pattern of racketeering activity involving

mail and wire fraud. The Complaint, however, fails to provide a single example of mail or wire

* Plaintiff also fails to allege fraudulent concealment with the required specificity. See Gonzalez-Bernal v. U.S., 907
F.2d 246, 250 (1" Cir. 1990). Thus, at a minimum, the Complaint and its attendant discovery obligations, should be
limited to four years.
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fraud perpetrated, or even participated in, by Sanofi. As held by the First Circuit, “[iJt is not
enough for a plaintiff to file a RICO claim, chant the statutory mantra, and leave the
identification of the predicate acts to the time of trial.” Feinstein v. Resolution Trust Corp., 942
F.2d 34, 42 (1* Cir. 1991). Plaintiff's broad and ambiguous references to “the defendants” — in
an allegation that under Fed. R. Civ. P. 9(b) requires particular statement of the circumstances
constituting fraud — fail to adequately plead a cause of action against Sanofi.

Il. Plaintiff's Claims Must Be Dismissed For Lack Of Standing.

To satisfy the constitutional requirements for Article III standing, plaintiff must allege
“personal injury fairly traceable to the defendant's allegedly unlawful conduct.” Order at 41
(quoting Allen v. Wright, 468 U.S. 737, 751 (1984)). Here, it is impossible to tell, because of
plaintiff's convoluted allegations, whether Suffolk or any of its citizens ever purchased any drug
from Sanofi, and therefore whether it, or its citizens, has any “personal injury fairly traceable” to
Sanofi. Because of this pleading deficiency, all of Suffolk County’s claims against Sanofi
should be dismissed for lack of standing. Order at 41.

In addition, as set out above, plaintiff has failed to allege any reasonably specific
“unlawful conduct” undertaken by Sanofi -- no marketing on the “spread,” no inducements, no
instances of mail or wire fraud -- let alone conduct that can be fairly traced to Suffolk’s alleged
injury. For this reason, plaintiff should be found to lack standing as to Sanofi for all counts.

CONCLUSION

For the above reasons, as well as those set forth in Defendants’ Consolidated

Memorandum, plaintiffs claims against Sanofi should be dismissed with prejudice.
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September 15, 2003

Respectfully submitted,

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MEMORANDUM OF SANOFI-SYNTHELABO INC,
IN SUPPORT OF ITS MOTION TO DISMISS

Exhibit A
49.

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Three Paragraphs in the Complaint that Relate to Sanofi-Synthelabo, Inc, (verbatim)

Defendant Sanofi-Synthelabo, Inc. (“Sanofi”) is a highly diversified health care
corporation whose principal business was the development, manufacture and sale of
health care products including pharmaceuticals. Sanofi’s principal place of business is
One Well Street, New York, New York 10286. Sanofi conducts extensive business in the
State of New York, including in the County of Suffolk. Sanofi manufactures and /or sells
prescription drugs with false and inflated AWPs that are paid for by Medicaid in Suffolk
County, including such medications as Plavix® and Ambien®.

Pfizer and its subsidiaries (Agouron and Sanofi-Synthelabo, Inc.), collectively referred to
herein as the “Pfizer Defendants,” routinely has reported or caused to be reported,
inflated AWPs, resulting in overcharges to Suffolk. The specific drugs of the Pfizer
Defendants for which relief is sought in this case are set forth in Exhibits A and B. Based
on Suffolk’s research, in 2001 alone, the Pfizer defendants reported false and inflated
AWPs for the drugs at issue as follows:

Reported Estimated

Average Suffolk’s Overcharge as

Wholesale Estimated | Estimated | a percentage of

Drug Price True AWP | Overcharge | Reported AWP
AMBIEN TAB 10MG $2.69 $2.03 $0.66 25%
GLUCOTROL XL TAB 10MG $0.83 $0.63 $0.20 24%
LIPITOR TAB 10MG $2.39 $1.61 $0.77 32%
LIPITOR TAB 20MG $3.64 $2.42 $1.22 34%
LIPITOR TAB 40MG $3.64 $2.39 $1.26 34%
NEURONTIN TAB 300MG $1.39 $0.93 $0.46 33%
NEURONTIN TAB 400MG $1.67 $1.15 $0.52 31%
NEURONTIN TAB 600MG $2.18 $1.38 $0.80 37%
NORVASC TAB 10MG $2.17 $1.47 $0.70 32%
NORVASC TAB SMG $1.50 $1.04 $0.46 31%
ZITHROMAX TAB 250MG $7.58 $5.59 $1.99 26%
ZOLOFT TAB 100MG $2.65 $1.85 $0.79 30%
ZOLOFT TAB 50MG $2.65 $1.86 $0.78 30%
ZYRTEC TAB 10MG $210.95 $132.88 $78.07 37%
XALATAN 0.005% EYEDROPS $53.38 $39.15 $14.23 27%
CELEBREX CAP 100MG $1.58 $1.19 $0.39 25%
CELEBREX CAP 200MG $2.76 $1.93 $0.83 30%

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341(v).

The Pfizer Defendants’ Manufacturer-Publisher Enterprises: The Pfizer
Defendants’ Manufacturer-Publisher Enterprises are three separate associations-
in-fact consisting of each of the Publishers that reported the AWPs that were
provided to them by the Pfizer defendants, and Pfizer, including its directors,
employees and agents: (1) the Pfizer defendants-Thomson Medical Enterprise;
(2) the Pfizer defendants-First DataBank Enterprise; and (3) the Pfizer-Facts &
Comparisons Enterprise. Each of the Pfizer defendants Manufacturer-Publisher
Enterprises is an ongoing and continuing business organization consisting of both
corporations and individuals that are and have been associated for the common or
shared purposes of (a) publishing or otherwise disseminating false and misleading
AWPs, and (b) deriving profits from these activities. Each of the Pfizer
Defendants’ Manufacturer-Publisher Enterprises has a systemic linkage because
there are contractual relationships, financial ties, and continuing coordination of
activities between Pfizer and Thomson Medical, Pfizer and First DataBank, and
Pfizer and Facts & Comparisons. As to each of these Pfizer Defendants’ .
Manufacturer-Publisher Enterprises, the Pfizer Defendants’ and each of Thomson
Medical, First DataBank, and Facts & Comparisons functioned as continuing but
separate units. At all relevant times, each of the Pfizer Defendants’
Manufacturer-Publisher Enterprises was operated and conducted by the Pfizer
Defendants’ for criminal purposes, namely, carrying out the AWP Scheme.
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. UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

)
IN RE PHARMACEUTICAL INDUSTRY ) MDL No. 1456
AVERAGE WHOLESALE PRICE )
LITIGATION ) Civil Action No.

01-CV-12257-PBS

THIS DOCUMENT RELATES TO:

County of Suffolk v. Abbott Laboratories, Inc.,

_)
)
) Judge Patti B. Saris
)
et al., E.D.N.Y. Case No. CV-03-229 )
)

MEMORANDUM OF SCHERING-PLOUGH CORPORATION
IN SUPPORT OF THE MOTION TO DISMISS

Schering-Plough Corporation (“Schering”) moves to dismiss the Amended Complaint of
the County of Suffolk (“County”) pursuant to Fed. R. Civ. P. 12(b)(1), 12(b)(6) and 9(b). The
Amended Complaint alleges that Schering engaged in two “types of wrongdoing” — the
“fraudulent reporting of false and inflated average wholesale prices” and the “failure to report the
‘Best Price’” — with respect to one of its drugs, Claritin Tab 10MG. Amended Complaint 19 2,
289, Exhibit A. The County’s first charge founders on its own well-documented knowledge that
AWP was nothing more than a sticker price and therefore fails to state a claim under any legal
theory. The second charge must fail for the Amended Complaint’s lack of a single fact relating
to Schering’s alleged failure accurately to report the best price. For these reasons, as well as
those stated in Defendants’ Memorandum of Law in Support of Their Motion to Dismiss the
Amended Complaint (“Consolidated Memorandum’), all of the claims against Schering must be

dismissed.

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ARGUMENT

I. The State’s Knowledge That AWP Was Merely a Sticker Price Defeats the Fraud-
Based Claims as a Matter of Law

New York — like all states — has been warned for decades that AWP should not be used to
establish reimbursement rates for state Medicaid programs. As detailed in the Consolidated
Memorandum, the Office of the Inspector General (“OIG”) of the Health Care Financing
Administration (“HCFA”) (now the Center for Medicare and Medicaid Services or “CMS”) has
warmed states repeatedly that AWP is not a price that pharmacists and other purchasers of drugs
actually pay. See, e.g., HCFA Medicaid Transmittal, No. 84-12 (Sept. 1984) at 3 (“Pharmacies
[actually] purchase drugs at prices that are discounted significantly below AWP or list price.”);
HS OIG Report, “Use of Average Wholesale Prices in Reimbursing Pharmacies in Medicaid and
the Medicare Prescription Drug Program,” (Oct. 1989), reprinted in Medicare & Medicaid Guide
(CCH) { 38,215 (1990) (noting that AWPs in industry publications overstate the prices that
pharmacies actually pay by 10-20%). Indeed, HCFA formally disapproved the plans of those
states that attempted to set Medicaid reimbursement rates at an undiscounted AWP. Louisiana v.
Dep't of Health & Human Servs., 905 F.2d 877 (5" Cir. 1990); In re Arkansas Dep't of Human
Servs., 1991 WL 634857 (HHS Dept. App. Bd. Aug 22, 1991); In re Oklahoma Dep't of Human
Servs., 1991 WL 634860 (HS Dept. App. Bd. Aug. 13, 1991). States have known for decades
that AWP is not the price paid for prescription drugs.

The Amended Complaint confirms that, in setting its reimbursement rates, the State of
New York acted with knowledge that AWP is not an actual price paid by providers. In fact, the
County admits that New York does not reimburse Medicaid providers at AWP, but at AWP
minus a significant percentage (now 12%). In light of the State’s decision to reimburse at a

significant discount off AWP, the County cannot honestly claim that it believed AWP

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represented true wholesale prices for pharmacies, or that the publication of AWPs caused any _
actual harm to the County. It is readily apparent that the County’s real claim is not that they
were misled into believing that AWP represented actual wholesale prices, but that the State may
have chosen the wrong discount off of AWP in estimating acquisition cost — a choice the State
made without any input from manufacturers.

Given New York’s admission that it knew that published AWPs were inflated and that it
therefore independently established a reimbursement rate set at a discount off of AWP, the
County’s allegations of the “fraudulent reporting of false and inflated average wholesale prices”
cannot state a claim as a matter of law.

Il. The Complaint Fails To Allege “Best Price” Claims Against Schering With
Sufficient Particularity

The broad, general allegations that the defendants “routinely do not report the actual ‘best
price,” and “utilized an array of other inducements to stimulate sales of their drugs” are wholly
without substance and should be dismissed in their entirety. See Amended Complaint, {J 84-90,
290-292. Nowhere in its 400+ paragraph Amended Complaint does the County articulate a
single fact or example to support its vacuous allegation concerning “Schering’s failures to report
Best Price as required by federal and state rebate statutes,” Amended Complaint § 290, or of any
“other inducements” allegedly offered by Schering to providers. The Complaint does not
identify even one drug for which Best Price was underreported, much less the “who, what, where
and how” of Schering’s alleged fraud that Rule 9(b) requires. See United States ex rel. Franklin
v. Parke-Davis, 147 F. Supp. 2d 39, 46 (D. Mass. 2001) (quoting United States ex rel. Ti hompson
v. Columbia/HCA Healthcare, 125 F.3d 899, 903 (5™ Cir. 1997)). Therefore, these allegations
are insufficient under Rule 9(b) to “place [Schering] on notice and enable [it] to prepare

meaningful responses.” New England Data Servs. v. Becher, 829 F.2d 286, 289 (1* Cir. 1987).

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Further, in this multidistrict litigation, the Court has also required plaintiffs to specify
“the allegedly fraudulent price for the drug” in question. In re Pharma. Indus. A WP Litig., 263
F. Supp. 2d 172, 194 (D. Mass. 2003). In Appendix A to the Amended Complaint, Plaintiff
alleges only the 2001 AWP for Claritin Tab 10MG, as well as a figure identified as “Suffolk’s
Estimated True AWP.” See Amended Complaint {75 & App. A. Plaintiff offers no explanation
of how it arrived at this “True AWP.” The allegation is inadequate to meet the pleading
requirements of Rule 9(b).

CONCLUSION

For the foregoing reasons, as well as those stated in the Consolidated Memorandum,
Schering requests that it be dismissed from the Complaint, and that the dismissal be with

prejudice.

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Respectfully Submitted,

Original Signature On File With Court

(fe Wctjomeny / IPI

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Dated: September 15, 2003

CERTIFICATE OF SERVICE

Thereby certify that on September 15, 2003, I caused a true and correct copy of the
Memorandum of Schering-Plough Corporation in Support of its Motion to Dismiss to be served
on all counsel of record by electronic service pursuant to Case Management Order No. 2 entered
by the Honorable Patti B. Saris in MDL 1456.

(Jotin R. Therien ~

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE

LITIGATION MDL NO. 1456

THIS DOCUMENT RELATES TO: CIVIL ACTION: 01-CV-12257-PBS

County of Suffolk vy. Abbott Laboratories,
Inc., et al.

Judge Patti B. Saris

TAP PHARMACEUTICAL PRODUCTS INC.’S SEPARATE
MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION
TO DISMISS SUFFOLK COUNTY’S AMENDED COMPLAINT

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{

Suffolk County asserts claims against TAP Pharmaceutical Products Inc. (“TAP”) as to-
only Prevacid®, a brand name drug used to treat gastrointestinal conditions. The allegations
regarding Prevacid® are virtually non-existent, consisting only of a purported 28%-31% “spread”
between Prevacid®’s AWP and a so-called “True AWP” calculated by Suffolk County. Am.
Compl. { 300. Otherwise, the only allegations made regarding TAP relate solely to Lupron®, a.
prostate cancer drug that is not a subject of this litigation and has no connection to Prevacid®.
See id. § 300.

The claims asserted against TAP by Suffolk County suffer from the same shortcomings
as the claims asserted by the State of Montana in its Second Amended Complaint. The
allegations asserted by Suffolk County against TAP track word-for-word many of the allegations
raised by Montana. Therefore, TAP incorporates by reference its Individual Memorandum to
Dismiss the State of Montana’s Second Amended Complaint, filed with this Court on September
15, 2003 (hereinafter “TAP Mont. Mem.”). Those arguments are summarized briefly below.

L Suffolk County Does not Identify Any Fraudulent Conduct as to Prevacid®

Suffolk County’s shorthand contentions of fraud as to Prevacid® fall short of the pleading
requirements set forth by the Court in In re Pharmaceutical Indus. Average Wholesale Price
Litig., 263 F. Supp. 2d 172, 194 (D. Mass. 2003). Suffolk County identifies no conduct at all
relating to Prevacid® beyond the publication of an AWP for that drug that exceeds by 28%-31 %
a number that Suffolk County contends is a “True AWP.” Am. Compl. ¥ 300. Suffolk County
never explains this so-called “True AWP.” Instead, Suffolk County recites allegations about a
guilty plea and settlement relating to Lupron® that have nothing at all to do with Prevacid®. As
to its Best Price claims, Suffolk County alleges absolutely nothing regarding TAP. Am. Compl.

Ff 84-93.
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These allegations are deficient and they fail to state a claim for the same reasons that
identical allegations by Montana failed to state a clam. See TAP Mont. Mem. at 1-2.
Accordingly, Suffolk County’s claims against TAP should be dismissed.

Ik. Suffolk County Does not Allege Any Competitor for Prevacid®

Suffolk County makes no allegations to show that TAP “marketed the spread” for
Prevacid®. Am. Compl. 4 10. Indeed, Suffolk County does not even allege facts to show that .
TAP could have done so. Specifically, Suffolk County identifies no competitor for Prevacid®.
Suffolk County also does not allege that the providers who prescribe Prevacid® would receive
the profit from any alleged “spread.”

In this regard, Suffolk County’s Amended Complaint is deficient in the same way as
Montana’s Second Amended Complaint. See TAP Mont. Mem. at 2-3. As explained in TAP’s
motion to dismiss the Montana claims, plaintiffs theory of fraud requires competition. Without
competition, manufacturers have no reason to manipulate AWPs, and the alleged scheme makes
no economic sense. See id. Thus, because Suffolk County alleges no competitor for Prevacid®,
the claims against TAP should be dismissed.

Oi. Conclusion

For the foregoing reasons, as well as those stated in the defendants’ consolidated
memorandum and those individual defendants’ memoranda that apply to TAP, this Court should

dismiss Suffolk County’s Amended Complaint as to TAP.
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l .

Respectfully Submitted,

Dated: September 15, 2003

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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY MDL No. 1456

AVERAGE WHOLESALE PRICE

LITIGATION Civil Action No.
01-CV-12257-PBS

THIS DOCUMENT RELATES TO:

County of Suffolk v. Abbott Laboratories, Inc., Judge Patti B. Saris
et al.,

E.D.N.Y. Case No. CV-03-229

MEMORANDUM OF WARRICK PHARMACEUTICALS CORPORATION
IN SUPPORT OF THE MOTION TO DISMISS

Warrick Pharmaceuticals Corporation (“Warrick”) moves to dismiss Plaintiff's Amended
Complaint (“Amended Complaint”) pursuant to Fed. R. Civ. P. 12(b)(6) and 9(b). Plaintiff
claims to have purchased only one Warrick drug, albuterol inhaler 90 MCG (“albuterol”). See
Amended Complaint ff 4, 50, 75, 296 & App. A. First, as Plaintiff admits, Medicaid
reimbursement for this drug is not based on AWP, but is instead subject to a Federal Upper Limit
(“FUL”), see id., which was first set in 1997. Plaintiff was on notice of any earlier AWP claims
when they accrued, and the relevant limitations periods on any such claims expired long ago.
Second, albuterol is a multi-source drug, and, as was the case for the Master Consolidated Class
Action Complaint in this multidistrict litigation, “multi-source drugs do not fit the paradigm
described in the complaint.” Jn re Pharma. Indus. AWP Litig., 263 F. Supp. 2d 172, 194 & n.11
(D. Mass. 2003). Finally, Plaintiff has failed entirely to satisfy the pleading requirements of
Fed. R. Civ. P. 9(b) in connection with its allegations that Warrick reported “inflated AWPs,”
“fail[ed] to report Best Price,” and offered “other inducements to stimulate the sales of [drugs].”

Amended Complaint {J 87, 289, 291. For these reasons, as well as those stated in Defendants’

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Memorandum of Law in Support of Their Motion to Dismiss the Complaint (“Joint
Memorandum”), all of the claims against Warrick must be dismissed.
ARGUMENT

I. AWP Claims Prior to and During the Period When Albuterol Has Been Subject to a
Federal Upper Limit Must Be Dismissed.

In October 1997, the Center for Medicare and Medicaid Services (“CMS”), pursuant to
Medicaid regulations, first established a Federal Upper Limit on payments for albuterol.! New
York Medicaid may not pay more for a prescribed drug than the FUL imposed by CMS. Fora
drug with an FUL, the federal government will reimburse the State no more than a reasonable
dispensing fee plus an amount that is established by CMS that is equal to 150% of the published
price for the least costly therapeutic equivalent that can be purchased in standard quantities (the
FUL). 42 C.F.R. § 447.332(b). As Plaintiff admits, reimbursement of drugs for which an FUL
has been established is thus not based on AWP. See Amended Complaint § 75. All AWP claims
relating to albuterol during the period when it was subject to an FUL must therefore be

dismissed.”

' See 42 CER. § 447.332; see also State Medicaid Manual, HCFA Pub. 45-6, Transmittal No. 34, July 1, 1997
(setting upper limit on payment for Albuterol Sulfate 90 MCG, Solution, Aerosol Inhalation Refill 17 gm at
$0.4394). Albuterol has been subject to various FULs. See, e.g., State Medicaid Manual, HCFA Pub. 45-6,
Transmittal No. 35, July 1998 ($0.4394); State Medicaid Manual, HCFA Pub. 45-6, Transmittal No. 36, November
22, 2000 ($0.3490), available at http://www.cms.hhs.gov/medicaid/drugs/ful400.pdf.

Plaintiff affirmatively alleges that albuterol was subject to an FUL in 2001, see Amended Complaint { 75, even
though the drug was temporarily removed from the FUL list in early 2001. See “Changes to Transmittal No. 36,”
available at http://www.cms.hhs.gov/medicaid/drugs/change36.asp (deleting “Albuterol, 0.09 mg/inh, Aerosol,
Metered, Inhalation, 17gm” effective January 7, 2001) and “Changes to Transmittal No. 37” (adding “Albuterol,
0.09 mp/inh, Aerosol, Metered, Inhalation, 17gm” at $0.8823 effective March 11, 2003), available at
http://www.cms.hhs.gov/medicaid/drugs/change37.pdf. Plaintiff also states a 2001 AWP for albuterol, see
Amended Complaint § 75 & App. A, but does not specify whether the FUL or the published AWP formed the basis
for New York’s reimbursement of albuterol that year. Plaintiff's contradictory allegations are insufficient under
Fed. R. Civ. P. 9(b) to state an AWP claim for albuterol in 2001. Because the basis for reimbursement cannot be
determined from the allegations, the Amended Complaint fails to state the requisite “who, what, where and how” of
Warrick’s alleged fraud, and does not provide adequate notice for Warrick to prepare a meaningful response. See
New England Data Servs. v. Becher, 829 F.2d 286, 289 (1" Cir. 1987); United States ex rel. Franklin v. Parke-
Davis, 147 F, Supp. 2d 39, 46 (D. Mass. 2001). ,

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Any AWP claims that Plaintiff may have had prior to the establishment of an FUL for
albuterol accrued, at the latest, in September 1997 — six years ago. None of the AWP claims
Plaintiff seeks to bring has a limitations period that exceeds six years. See Rotella vy. Wood, 528
U.S. 549, 552 (2000) (four year limitation period on claims under 18 U.S.C. § 1962(c)); Gaidon
v. Guardian Life Ins. Co. of Am., 96 N.Y.2d 201, 207-210 (2001) (three year period under N.Y.
Gen. Bus. Law § 349; six year period for common law fraud); Helfand v. Sessler, 194 Misc. 2d
38, 40 (N.Y. Civ. Ct. 2002) (six year period for unjust enrichment). Plaintiff cannot bring a
claim based on pre-1997 conduct relating to albuterol in this case.

Plaintiff attempts to avoid the statutes of limitations by alleging — generally — that
defendants concealed the conduct that gave rise to Plaintiff's injuries. The claims are entirely
devoid of detail as to Warrick, however, and therefore fail to meet the particularity requirement
of Fed. R. Civ. P. 9(b). See J. Geils Band Empl. Ben. Plan v. Smith Barney Shearson, Inc., 76
F.3d 1245, 1255 (5™ Cir.) (holding that plaintiffs have the burden under Rule 9(b) to plead with
particularity the facts giving rise to fraudulent concealment), cert. denied, 519 U.S. 823 (1996).
More significantly, the New York Medicaid Program has known for decades that when States
peg Medicaid reimbursement to AWPs, they frequently pay “in excess of actual acquisition cost
to the retail pharmacist.” 39 Fed. Reg. 41,480 (Nov. 27, 1974). For this reason, the federal
government has repeatedly warned State Medicaid programs that they should “abandon the AWP
reimbursement methodology.” Medicare Action Transmittal No. 84-72, reprinted in Medicare &
Medicaid Guide (CCH) { 34,157 at 10,197 (1984). These public domain materials, and the
numerous others available to Plaintiff and identified in the Joint Memorandum, are sufficient to
defeat Plaintiff's fraudulent concealment claim. See, e. g., In re Ultrafem Inc. Sec. Lit., 91 F.

Supp. 2d 678, 692 (S.D.N.Y. 2000) (Bloomberg news article); Blue Cross of California v.

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SmithKline Beecham Clinical Labs., Inc., 108 F. Supp. 2d 116, 123-124 (D. Conn. 2000) (media
stories and government reports).
II. Plaintiff's AWP Claims Must Be Dismissed Under Fed. R. Civ. P. 9(b).

In this multidistrict litigation, the Court has required plaintiffs to specify “the allegedly
fraudulent AWP for each drug” in question. In re Pharma. Indus. AWP Litig., 263 F. Supp. at
194. In Appendix A to the Amended Complaint, Plaintiff alleges only the 2001 AWP for
albuterol, as well as a figure identified as “Suffolk’s Estimated True AWP.” See Amended
Complaint 9 75 & App. A. Plaintiff offers no explanation of how it arrived at this ‘““True AWP.”
The allegation is inadequate to meet the pleading requirements of Rule 9(b). Moreover, Plaintiff
does not even purport to plead any albuterol AWP prior to the first establishment of an FUL for
the drug in 1997. Thus, in addition to being barred by the applicable statutes of limitations,
Plaintiff's AWP-based claims for that time period cannot satisfy Rule 9(b) and should be
dismissed.

Til. Plaintiff's Multi-Source Generic Drug Claims Must Be Dismissed.

For the same reasons that this Court dismissed the claims against multiple-source generic
drugs in its May 13 Order, all claims relating to multi-source generic drugs — including
Warrick’s albuterol — should be dismissed. See In re Pharma. Indus. AWP Litig., 263 F. Supp.
2d at 194 & n.11. In duplicating the private class action plaintiffs’ theory for generic drugs,
Plaintiff has duplicated its fatal flaws. Compare Amended Complaint f{ 97-99 to Amended
Master Consolidated Class Action Complaint {{ 186-188. Plaintiff has failed entirely to fit the
generic market into the paradigm of fraudulent conduct alleged throughout the Amended
Complaint. New York State Medicaid pays the same amount for all formulations of a multi-

source drug, regardless of which pharmaceutical company makes it. Under this reimbursement

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scheme, no manufacturer can obtain a competitive advantage or an increased market share based
on its own published AWP. Plaintiff therefore fails to set forth any meaningful A WP-based
allegations against Warrick’s albuterol, and the claims must be dismissed.

IV. Plaintiff's Allegations Concerning Best Price Reporting and “Other
Inducements” Must Be Dismissed.

Finally, the broad, general allegations that the defendants “routinely do not report the
actual ‘best price,” and “utilized an array of other inducements to stimulate sales of their drugs”
are wholly without substance and should be dismissed in their entirety. See Amended
Complaint, J] 84-90, 290-292. Plaintiff fails to provide a single specific example of a failure by
Warrick to report its statutory best price to CMS, or of any “other inducements” allegedly
offered by Warrick to providers. These claims fail to state the requisite “who, what, where and
how” of Warrick’s alleged fraud, see United States ex rel. Franklin v. Parke-Davis, 147 F. Supp.
2d 39, 46 (D. Mass. 2001) (quoting United States ex rel. Thompson v. Columbia/HCA
Healthcare, 125 F.3d 899, 903 (5™ Cir. 1997)), and are insufficient under Rule 9(b) to “place
[Warrick] on notice and enable [it] to prepare meaningful responses.” New England Data Servs.
v. Becher, 829 F.2d 286, 289 (1° Cir. 1987).

CONCLUSION

For the foregoing reasons, as well as those stated in the Joint Memorandum in Support of
Defendants’ Motions to Dismiss, Warrick requests that it be dismissed from the Amended

Complaint.

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Respectfully Submitted,

Original Signature On File With Court

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Dated: September 15, 2003
CERTIFICATE OF SERVICE

I hereby certify that on September 15, 2003, I caused a true and correct copy of the
Memorandum of Warrick Pharmaceuticals Corporation in Support of its Motion to Dismiss to be
served on all counsel of record by electronic service pursuant to Case Management Order No. 2
entered by the Honorable Patti B. Saris in MD 6.

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U4 ~ John R. Therien —

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

)
IN RE: PHARMACEUTICAL INDUSTRY }
AVERAGE WHOLESALE PRICE
LITIGATION

MDL NO. 1456

CIVIL ACTION: 01-CV-12257-PBS

THIS DOCUMENT RELATES TO: Judge Patti B. Saris

COUNTY OF SUFFOLK v. ABBOTT
LABORATORIES, INC. et al., Civil
Action Na, 03-10643-PBS

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DEFENDANT WYETH’S MEMORANDUM OF LAW IN SUPPORT OF
MOTION TO DISMISS THE AMENDED COMPLAINT

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INTRODUCTION

Wyeth, by and through its undersigned counsel, hereby submits this Memorandum in
Support of the Motion to Dismiss the Amended Complaint. Wyeth adopts and incorporates by
reference the arguments set forth in the Consolidated Motion to Dismiss Amended Complaint
and Supporting Memorandum of Law. In addition, for the reasons set forth below, the claims
against Wyeth must be dismissed because the Plaintiff has failed to comply with the heightened
pleading standard of Federal Rule of Civil Procedure 9(b) and the pleading requirements set forth
in this Court’s Memorandum and Order dated May 13, 2003 (“May 13 Order”).

The 131-page Amended Complaint wholly fails to meet these pleading requirements.
Plaintiff's claims are based generically on the allegation that the Defendants engaged in a
“fraudulent scheme with others in the pharmaceutical distribution chain . . . to collect inflated
prescription drug payments” from Plaintiff. Amended Complaint at 2. Of the 419 numbered
paragraphs in the Amended Complaint, only six refer to Wyeth.’ Each fails to describe with any.
particularity Wyeth’s purported role in any alleged fraudulent scheme or to state with
particularity a single fraudulent statement or action by Wyeth.

ARGUMENT
IL Plaintiff's Allegations Against Wyeth Fail for Lack of Particularity.

Federal Rule of Civil Procedure 9(b) provides that “‘in all averments of fraud . . . the
circumstances constituting the fraud . . . shall be stated with particularity.” Particularly in a
RICO case, the First Circuit has cautioned that “[d]ue to the potency of RICO allegations,
‘particular care is required to balance the liberality of the Civil Rules with the necessity for
preventing abuse or vexatious treatment of the defendants.’” Bowdoin Constr. Corp. v. Rhode

Island Hosp. Trust Nat'l. Bank, 869 F. Supp. 1004, 1006 (D. Mass. 1994) quoting Miranda v.

' Wyeth is not a defendant in the Consolidated Amended Class Action Complaint.
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Ponce Fed. Bank, 948 F.2d 41, 44 (1st Cir. 1991). Simply put, Rule 9(b) requires that a
plaintiff plead the “who, what, where, and how” of the alleged fraud. United States ex rel.
Franklin v. Parke-Davis, 147 F. Supp. 2d 39, 46 (D. Mass. 2001).

Plaintiff's allegations as to Wyeth are perfunctory at best and thus fail this test. Plaintiffs
simply state that Wyeth reported “false and inflated” AWPs for its products Protonix and
Effexor. Amended Complaint at 311. The sole detail with respect to this allegation consists of
a chart indicating a variance or “spread” between the reported AWP and Plaintiff's “Estimated
True AWP.” The “spread” alleged by Plaintiff is 3% for Effexor and 26% for Protonix. The
Complaint provides no detail as to how the alleged “Estimated True AWP” was calculated, e.g.,
which sales were included in the calculation, whether it is a simple or weighted average, what its
margin of error is, etc.

These defects are particularly glaring with respect to the alleged 3% “spread” between
reported AWP and “estimated true AWP” for Effexor. Plaintiff's allegations in this regard are
most curious. Plaintiff concedes, as it must, that the New York Medicaid program was aware
that AWP is not a representation of actual acquisition costs and that this knowledge was reflected
in the 2002 Medicaid reimbursement rate of AWP minus 10%. Amended Complaint at q 73.
Apparently Plaintiff is alleging that the AWP for Effexor was “fraudulent” even though the New
York Medicaid program, according to Plaintiff's own calculations, reimbursed providers 7% less
than their actual acquisition cost for the drug.

The alleged “false” AWP for Protonix varies from the alleged “Estimated True AWP” by
26%. Even if one accepts Plaintiff's calculations, it is unclear how such a variance would
constitute fraud in view of the fact that this percentage closely approximates the variances

between published AWPs and actual sale prices found in numerous government reports that were
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well known to the New York Medicaid Program. Amended Complaint at | 73; see also
Defendant’s Consolidated Memorandum of Law at pages 5-10.

With respect to other “Covered Drugs,” Plaintiff's complaint lacks even these cursory
allegations, and simply states that “similar” practices resulted in “comparable damage” for all
Covered Drugs. This allegation as to unnamed “Covered Drugs” is clearly insufficient to meet
the pleading requirements set forth in this Court’s Memorandum and Order dated May 13, 2003.

The RICO allegations are similarly deficient. The Amended Complaint here relies
exclusively upon conclusory, general statements to describe Wyeth’s alleged “Manufacturer-
Publisher Enterprises.” Amended Complaint at J 341 (cc). Indeed, except for the name of the
Defendant, allegations about Wyeth’s operation of these enterprises and pattern of racketeering
activity are identical to those allegations stated against others, and merely mimic the statutory
language concerning the prerequisites of RICO allegations. Similarly, Plaintiff s charges of mail
and wire fraud by Wyeth are based upon general allegations collectively asserted against all
Defendants. Amended Complaint at 1 342. Likewise, Plaintiff's allegations relating to the guilty
pleas and government investigations of other Defendants to this action do not satisfy the
requirements of Rule 9(b) with respect to Plaintiff's claims against Wyeth. Instead of
particularizing Wyeth’s role, the Plaintiff attempts to paint Wyeth and all other defendants with
broad assertions of wrongdoing.

This Court and Rule 9(b) require more. Reves v. Ernst & Young, 507 U.S. 170, 184
(1993) (affirming dismissal of complaint where plaintiff failed to allege with specificity how
defendant participated in the operation or management of the alleged enterprises). See Suna v.
Bailey Corp., 107 F.3d 64, 68 (1st Cir. 1997) (requiring plaintiffs to explain why statements were.

fraudulent); United States ex rel. Gublo v. NovaCare, Inc., 62 F. Supp. 2d 347 (D. Mass. 1999)
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(dismissing under Rule 9(b) Medicare fraud case because plaintiff failed to allege why or how
the defendant’s price representations were fraudulent). See also Curtis v. Duffy, 742 F. Supp.
34, 38 (D. Mass. 1990) (“[I]t is not enough to salt the complaint with the words ‘falsely’ and
‘fraudulently’”). Plaintiffs fail to particularize Wyeth's role in any of these alleged violations
and therefore claims also should be dismissed based on Rule 9(b).
CONCLUSION
For the foregoing reasons, and for the reasons set forth in the Consolidated

Memorandum, Wyeth requests that the Amended Complaint against it be dis

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